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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                    Greenbelt Division

Kilmar Armando Abrego Garcia, et al.,

                       Plaintiffs,
                                                       Case No.: 8:25-CV-00951-PX
v.

Kristi Noem, et al.,

                       Defendants.


                                      Interim Motion to Seal
                                     Plaintiffs’ Status Report

       Pursuant to Local Rule 105.11 and the parties’ Stipulated Confidentiality Order, ECF No.

95, Plaintiffs move to seal the accompanying Status Report, filed today under the Court’s May 16,

2025 Order, ECF No. 146.

       Plaintiffs represent the following facts to justify sealing under Local Rule 105.11. The

parties’ Stipulated Confidentiality Order requires a party to file under seal any materials that have

been designated as Confidential or Attorney’s Eyes Only by another party. In particular, paragraph

2 of the Confidentiality Order states:

       To the extent that any materials designated as Confidential or Attorney's Eyes
       Only under this Confidentiality Order (or any pleading, motion, or memorandum
       disclosing them) are proposed to be filed or are filed with the Court, the portions
       of those materials containing Confidential or Attorney's Eyes Only information
       shall be redacted by the filing party. Non-redacted versions shall be filed under
       seal (by the filing party) with the Clerk of the Court with a simultaneous motion
       pursuant to L.R. 104.13(c) (hereinafter the “Interim Sealing Motion”), in
       accordance with the current version of the Court's Electronic Filing Requirements
       and Procedures for Civil Cases. The Interim Sealing Motion shall be governed by
       L.R. 105.11, provided that the Court can deny an Interim Sealing Motion prior to
       14 days in part or in full. Even if the filing party believes that the materials
       designated as Confidential or Attorney's Eyes Only are not properly classified as
       Confidential or Attorney's Eyes Only, the filing party shall file the Interim
       Sealing Motion; provided, however, that the filing of the Interim Sealing Motion
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       shall be wholly without prejudice to the filing party rights under paragraph (4) of
       this Confidentiality Order.

ECF No. 95, ¶ 2 (emphasis added).

       The accompanying Status Report contains information regarding the Government’s

interrogatory responses and email correspondence regarding the topics to be covered in the

30(b)(6) depositions the Court has ordered. The Government has designated these materials as

Confidential or Attorneys’ Eyes Only under the Stipulated Confidentiality Order. Accordingly,

pursuant to the Confidentiality Order, “even if [Plaintiffs] believe that the materials designated as

Confidential or Attorney's Eyes Only are not properly classified as Confidential or Attorney’s Eyes

Only,” they are required to file this motion seeking to maintain the designated material under seal.

Id.

       Further, Plaintiffs are not simultaneously filing a public version of the accompanying

Status Report, as the Government has designated the entire Status Report Confidential or Attorneys

Eyes Only. Plaintiffs rely on the Government to identify reasons why alternatives to sealing the

material not filed publicly would not provide sufficient protection.




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Dated: May 23, 2025

                                              /s/ Jonathan G. Cooper
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